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Form ATYHRG


                                    United States Bankruptcy Court
                                              Southern District of Florida
                                               www.flsb.uscourts.gov
                                                                                                      Case Number: 24−21209−LMI
                                                                                                      Chapter: 7
In re:
ShiftPixy, Inc.
4101 NW 25 Street
Miami FL 33142
EIN: 47−4211438



                                                  NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Laurel M Isicoff to consider the
following:

[195] Motion for Relief from Stay [Fee Amount $199] Filed by Creditor Amanda Murphy (Attachments: #
1 Exhibit A # 2 Exhibit B # 3 Exhibit C) (Koroglu, Harris)

1. This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted time for this matter is ten
   minutes. The hearing will be held:

  Date: March 11, 2025
  Time: 09:30AM
  Location: Video Conference by Zoom for Government

2. The hearing scheduled by this notice will take place only by video conference. DO NOT GO TO THE COURTHOUSE. Attorneys
   must advise their clients not to appear at the courthouse. Although conducted by video conference, the hearing is a court
   proceeding. The formalities of the courtroom must be observed. All participants must dress appropriately, exercise civility, and
   otherwise conduct themselves in a manner consistent with the dignity of the Court.

3. To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day before the date of the hearing.
   To register, click on or enter the following registration link in a browser:

  https://www.zoomgov.com/meeting/register/vJItfuqurDsoEnWyiKeoSfMa3m888k3mfBM

4. The movant, or movant's counsel if represented by an attorney, must:

      (a) serve a copy of this notice of hearing and, unless previously served, the above−described document(s) on all required parties
          within the time frame required by the Federal Rules of Bankruptcy Procedure, the local rules of this Court, and orders of the
          Court, and

      (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

  Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be heard thereon.

5. PLEASE NOTE: No person may record the proceedings from any location by any means. The audio recording maintained by the
   Court will be the sole basis for creation of a transcript that constitutes the official record of the hearing.

Dated: 2/10/2025                                                     By: Harris J. Koroglu
